                                               Case: 24-1219       Document: 23       Filed: 02/11/2025       Page: 1




                                                            UNITED STATES COURT OF APPEALS
                                                                 FOR THE SIXTH CIRCUIT

                                                                            No. 24-1219


                                   ELIZABETH NELSON and ALBERT D.
                                   THROWER,

                                         Plaintiffs-Appellants,

                                   v.

                                   SERVICE TOWING, INC., et al.,

                                         Defendants-Appellees.



                                                   Before: BATCHELDER, COLE, and BUSH, Circuit Judges.

                                                                           JUDGMENT
                                                          On Appeal from the United States District Court
                                                           for the Eastern District of Michigan at Detroit.

                                           THIS CAUSE was heard on the record from the district court and was submitted on the
                                   briefs without oral argument.

                                          IN CONSIDERATION THEREOF, it is ORDERED that the judgment of the district court
                                   is AFFIRMED.

                                                                              ENTERED BY ORDER OF THE COURT




                                                                              Kelly L. Stephens, Clerk




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